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                                                                                                                                                               OISTIC'rIJRT E      ,
                            EASTERN DISTRICT OF NEW YORK
                                                                                                                                                      * MAR 16 2018 *
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                                  RO A E k+             Mo&o


                                                                                                                                       AMENDED
                                                       Plaintiff,                                                                      COMPLAINT
                                   -against-                                                                                           (7-            CV
                             or W& Vonk                                                                   *


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                                           Deenants.
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


  Fczr                    ror                                         A m e, Atoeb
                                                                     CIVIL RIGHTS COMPLAINT
                             Plaintiff,                              42 U.S.C. § 1983

  [Insert full name of plaintiff/prisoner]
                                                                    ict/-c;- 2JX       RC
                                                                     JURY DEMAND

                                                                     YES   /    NO
                    -against-




   MONS



                             Defendant(s).                                                 a


  [Insert full name(s) of defendant(s). If you need additional
  space, please write "see attached" and insert a separate
  page with the full names of the additional defendants. The
  names listed above must be identical to those listed in Part I]



           Parties: (In item A below, place your name in the first blank and provide your present
           address and telephone number. Do the same for additional plaintiffs, if any.)

           A. Name of plaintiff Ron-                    Moci
           If you are incarcerated, provide the name of the facility and address:

             CZY ~z P( P0i?ô?OO(Vlcr?c.y7 /Y' IN01


           Prisoner ID Number:               T 2-6 f&
                                              ,
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        If you are not incarcerated, provide your current address:




        Telephone Number:



        B. List all defendants. You must provide the full names of each defendant and the
  addresses at which each defendant may be served. The defendants listed here must match the
  defendants named in the caption on page 1.



        Defendant No. I               d0kz 1      )   Of,
                                      Full Name


                                      Job Title

                                                  FA   m
                                                       o~


                                      Address



        Defendant No. 2              JOhI4        Doe
                                      Full Name
                                                      opFjCeiS
                                                                 PCHi-iLX ?1 j'25t-1
                                      Job Title

                                      9)- - /6 1%i2                  L?'u L&rnfi       If? fl

                                      Address



        Defendant No.3               ~ 4124DOC                   (i   IiS
                                      Full Name


                                      Job Title



                                                  2
Case 1:17-cv-05245-PKC-LB Document 15 Filed 03/16/18 Page 4 of 8 PageID #: 64 (c)


                                        Address



           Defendant No. 4
                                        Full Name


                                        Job Title




                                        Address




           Defendant No. 5
                                        Full Name


                                        Job Title




                                        Address

 II.       Statement of Claim:

 (State briefly and concisely, the facts of your case. Include the date(s) of the event(s) alleged as
 well as the location where the events occurred. Include the names of each defendant and state
 how each person named was in olved in the event you are claiming violated your rights. You
 need not give any legal argum e ~Its or cite to cases or statutes. If you intend to allege a number
 of related claims, number and s e t forth each claim in a separate paragraph. You may use
 additional 8 1/2 by 11 sheets of p a per as necessary.)

 Where did the events giving rise to your claim(s) occur?                /1/ØyiiL4gv,        .




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 When did the events happen? (iclude approximate time and date)                 LOW o         LO 1
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Case 1:17-cv-05245-PKC-LB Document 15 Filed 03/16/18 Page 5 of 8 PageID #: 65




Facts: (what happened?) It"11 4,



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V                   ii       L                                                            '      All   IA       I 4




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lI.A.   Injuries.      If you are claiming injuries as a result of the events you are complaining
about, describe your injuries andj state what medical treatment you required. Was medical
treatment received?
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  III.     Relief: State what relief you are seeking if you prevail on your complaint.

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                                                3
           I declare under penalty of perjury that on             -    20       I delivered this
                                                                  (date)
  complaint to prison authorities at       Ny P 6                            to be mailed to the United
                                               (name of prison)
  States District Court for the Eastern District of New York.


           I declare under penalty of perjury that the foregoing is true and correct.


  Dated:
                                          Signature of Plaintiff


                                           C - Ly       i F--,I   (-


                                          Name of Prison Facility or Address if not incarcerated
                                          /7p I3oX


                                          Address


                                          (R2 'R
                                          Prisoner JD#


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